                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION



STEVEN DUNCAN, PETER CAHILL and             Civil No. 2:16-cv-01229-PP
CHARLES CAPARELLI, Individually and on
Behalf of All Others Similarly Situated,    CLASS ACTION

                           Plaintiffs,

        vs.

JOY GLOBAL INC., EDWARD L. DOHENY
II, JOHN NILS HANSON, STEVEN L.
GERARD, MARK J. GLIEBE, JOHN T.
GREMP, GALE E. KLAPPA, RICHARD B.
LOYND, P. ERIC SIEGERT and JAMES H.
TATE,

                           Defendants.      DEMAND FOR JURY TRIAL




              AMENDED COMPLAINT FOR VIOLATIONS OF §§14(a) AND 20(a)
                    OF THE SECURITIES EXCHANGE ACT OF 1934




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        Lead Plaintiffs Steven Duncan, Peter Cahill and Charles Caparelli (“plaintiffs”), individually

and on behalf of all others similarly situated, respectfully bring this direct class action complaint for

violations of §§14(a) and 20(a) of the Securities Exchange Act of 1934 (the “1934 Act”) and U.S.

Securities and Exchange Commission (“SEC”) Rule 14a-9 promulgated thereunder against the

herein named defendants and allege the following:

                                  SUMMARY OF THE ACTION
        1.       This is a direct stockholder class action brought by plaintiffs on behalf of the holders

of Joy Global Inc. (“Joy Global” or “Joy” or the “Company”) common stock against Joy Global and
its Board of Directors (the “Board”) for violations of federal law arising out of the sale of Joy Global

to Komatsu Ltd. (“Komatsu”) (the “Acquisition” or the “Merger”). This matter arises out of

defendants’ dissemination of a false and misleading proxy statement in violation of §§14(a) and

20(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.

        2.       Prior to the Acquisition, Joy Global was a leading provider of advanced equipment,

systems, and direct services for the global mining industry. On July 21, 2016, defendants announced

that they had entered into an Agreement and Plan of Merger (the “Merger Agreement”), pursuant to

which Komatsu would purchase all of Joy Global’s outstanding shares for the inadequate price of

$28.30 per share, or approximately $3.7 billion total.

        3.       The announcement was not well received. On July 25, 2016, the wealth management
firm Robert W. Baird & Co. Inc., also headquartered in Milwaukee, reported that the $28.30 per

share price drastically undervalued the Company: “the value of the transaction, which boils down to

$28.30 (per share), effectively does not extract as much value as there should be for Joy’s

shareholders. In our view, something closer to $40, frankly above $40, would accomplish that. . . .
[Joy Global] is one of the most valuable assets, pure play mining assets, available globally.”

Similarly, Bloomberg reported that Komatsu was buying Joy Global “[o]n the cheap” by acquiring

“Joy at almost a 50 percent discount to its five-year average. And now [Komatsu] has the benefit of
at least some stabilization in commodity prices to give it confidence in a mining turnaround. Joy

Global shares have recovered somewhat this year, but Komatsu is still getting a bargain. In other
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words, the timing probably couldn’t have been better for Komatsu to strike its biggest deal yet.” The

day after the Acquisition announcement, July 22, 2016, the Milwaukee Business Journal ran a story

titled, “Joy Global sale another blow to Milwaukee economy, charities.”

        4.       Under pressure from stockholders, analysts, and the local community, on September

2, 2016, defendants issued a materially false and misleading Definitive Proxy Statement on Schedule

14A (the “Proxy”) in order to secure shareholder support for the undervalued Acquisition. The

Proxy, which recommended that Joy Global’s shareholders vote in favor of the Acquisition, omitted

and misrepresented material information in contravention of §§14(a) and 20(a) of the 1934 Act

regarding the unfair consideration offered in the Acquisition and the actual intrinsic value of the

Company. Defendants were forced to issue multiple supplemental Proxy disclosures on September

29 and October 3, 2016 in an attempt to rectify the problems, but the final Proxy still woefully failed

to provide full and fair disclosures to Joy Global stockholders.

        5.       When stockholders are forced to decide whether to accept a sum certain value in a

cash-out merger, there is no more material information than management’s estimates of the

standalone corporation’s future cash flows. In such a situation, investors are concerned, perhaps

above all else, with the expected corporate cash flows if the sale is not approved. A common refrain

throughout case law states that “projections . . . are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or . . .

market multiples. What they cannot hope to do is replicate management’s inside view of the

company’s prospects.” In the context of a corporate sale, a company’s operational, run-the-company

projections prepared before the acquirer’s initial offer – thus untainted by the omnipresent specter of

management conflict in a change-of-control transaction – are sacrosanct.

        6.       When submitting the Acquisition to a stockholder vote here, however, the Joy Global

Board deprived the Company’s stockholders of management’s most reasonable, reliable, and best

estimates of Joy Global’s future prospects. In the ordinary course of business, Joy Global prepared a

detailed five-year plan, which Joy Global CEO Edward L. Doheny II (“Doheny”) repeatedly touted

throughout 2015 and early 2016 as the Company’s long-term “strategy,” its “five-year plan [for]

growth,” and its “five-year plan on operational strategies.” The Proxy concealed the numerical
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details of this operational growth plan from stockholders. Instead, in the Proxy, Joy Global

presented its stockholders with an unduly pessimistic, downward-revised set of numbers that

contradicted management’s repeated and numerically specific statements regarding the Company’s

future growth. Management did not create these new, downward projections until after Komatsu

submitted an offer set to trigger millions in personal golden parachute compensation for Doheny and

his senior management team, which renders the downside adjustments inherently unreliable. As

further described in detail below, the new downside scenario was also numerically incompatible with

the Company’s operative reality and then-current expectations, as repeatedly touted by Doheny.

        7.       As a result of the misleading Proxy, uninformed Joy Global stockholders voted in

favor of the Acquisition on October 19, 2016. Based on the misleading Proxy with respect to the

Company’s intrinsic value, defendants were able to obtain shareholder approval of the sale to

Komatsu and deprive Joy Global shareholders of the full value of their interests in the Company.

The preparation and dissemination of the false and misleading Proxy thus induced shareholder action

which resulted in substantial harm to plaintiffs and Joy Global’s other shareholders. At the same

meeting, however, Joy Global stockholders voted against “certain compensation that may be paid or

become payable to [Joy Global] named executive officers in connection with the [M]erger.”

        8.       The Acquisition closed on April 5, 2017. On that date, Joy Global ceased public

trading and became a wholly owned subsidiary of a Komatsu affiliate. Also on that date, Doheny

received over $22.2 million in cash payments related to the Acquisition, which Joy Global

stockholders had just voted to reject. Because the stockholder vote on Doheny’s Acquisition-related

executive compensation was “non-binding,” however, the Board flouted the vote and caused Doheny

to receive that full amount. Joy Global was founded in 1919 and its corporate roots date back to

Milwaukee in 1884. Yet after that final act of self-dealing by the Board on April 5, 2017, the day

that Joy Global ceased trading as a public company, the Milwaukee Business Journal ran the

following headline: “CEO Doheny, top execs out at Joy Global, set to receive golden parachute

payment.” Komatsu promptly renamed Joy Global as Komatsu America Corp.




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          9.       This action seeks damages on behalf of Joy Global’s shareholders, incurred as a result

of defendants’ materially misleading Proxy submitted in contravention of §§14(a) and 20(a) of the

1934 Act.

                                    JURISDICTION AND VENUE
          10.      This Court has jurisdiction over all claims asserted herein pursuant to §27 of the 1934

Act for violations of §§14(a) and 20(a) of the 1934 Act and SEC Rule 14a-9 promulgated

thereunder.

          11.      Venue is proper in this District because Joy Global had its principle place of business

in this District at 100 East Wisconsin Avenue, Suite 2780, Milwaukee, Wisconsin. Plaintiffs’ claims

arose in this District, where most of the actionable conduct has taken place, where most of the

documents are electronically stored and where the evidence exists, and where virtually all the

witnesses are located and available to testify at the jury trial permitted on these claims in this Court.

Moreover, the Individual Defendants (as defined below), as Company officers and/or directors, have

extensive contacts with this District.

                                                PARTIES
          12.      Plaintiffs Steven Duncan, Peter Cahill and Charles Caparelli were shareholders of Joy

Global.

          13.      Defendant Joy Global was a Delaware corporation headquartered in Milwaukee,

Wisconsin.

          14.      Defendant Edward L. Doheny II was President, CEO, and a director of Joy Global at

all relevant times, including the Acquisition.

          15.      Defendant John Nils Hanson (“Hanson”) was Non-Executive Chairman and a director

of Joy Global at all relevant times, including the Acquisition. Hanson received $228,164 upon

consummation of the Acquisition.

          16.      Defendant Steven L. Gerard was a director of Joy Global at all relevant times,

including the Acquisition.

          17.      Defendant Mark J. Gliebe was a director of Joy Global at all relevant times, including

the Acquisition.
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        18.     Defendant John T. Gremp was a director of Joy Global at all relevant times, including

the Acquisition.

        19.     Defendant Gale E. Klappa was a director of Joy Global at all relevant times, including

the Acquisition.

        20.     Defendant Richard B. Loynd was a director of Joy Global at all relevant times,

including the Acquisition.

        21.     Defendant P. Eric Siegert was a director of Joy Global at all relevant times, including

the Acquisition.

        22.     Defendant James H. Tate was a director of Joy Global at all relevant times, including

the Acquisition.

        23.     The defendants named above in ¶¶14-22 are sometimes collectively referred to herein

as the “Individual Defendants” or the “Board.”

        24.     The Individual Defendants other than Doheny are sometimes collectively referred to

herein as the “Outside Directors.”

        25.     Each of the defendants participated in the preparation, review and dissemination of

the materially false and misleading Proxy complained of herein. The Individual Defendants

abdicated their obligation to Joy Global and its shareholders to file and distribute to plaintiff and the

class a Proxy Statement that was not false and misleading.

                                   FACTUAL ALLEGATIONS

Background of the Companies
        26.     Founded by Joseph Joy in 1919, Joy Global was a leading manufacturer and servicer

of high productivity mining equipment for the extraction of metals and minerals. Joy Global

manufactured and marketed original equipment and parts and performed services for both

underground and surface mining, as well as certain industrial applications. Joy Global’s equipment

was used in major mining regions throughout the world to mine coal, copper, iron ore, oil sands,

gold and other minerals and ores. The crown jewel of Joy Global’s growth strategy was its service

offerings. Joy Global offered comprehensive direct service, which included smart service offerings


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near major mining regions worldwide, and Joy Global provided extensive operational support for

many types of equipment used in mining.

        27.     Established in 1921 and based in Tokyo, Japan, Komatsu is a diversified provider of

industrial-use products and services. While primarily engaged in the manufacture of equipment used

in international construction and mining, Komatsu is also involved in other business, such as

industrial machinery and vehicles, logistics, electronics and other solutions-based operations.

Chronology of Joy Global Management’s Five-Year Growth Plan
        28.     In the ordinary course of business, Joy Global prepared detailed five-year projections,

which formed the bases of Joy Global’s representations to the market about the Company’s

impressive prospects. Indeed, during investor calls and conferences, Doheny repeatedly referred to

the Company’s internally kept long-term “strategy,” its “five-year plan [for] growth,” and its “five-

year plan on operational strategies.” Joy Global used these growth projections to run the Company

throughout 2015 and the first half of 2016 without any doubt as to the appropriateness of the

assumptions underlying the projections.

        29.     For example, on June 11, 2015, Doheny gave a presentation at the 2015 William Blair

Annual Growth Stock Conference entitled, “Creating Long Term Value for Shareholders.” The day

prior, June 10, 2015, Joy Global’s stock price closed at $40.20 per share. Doheny’s presentation
contained the following slide:




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        30.     When describing that exact slide at the William Blair conference on June 11, 2015,

Doheny stated as follows: “So – and this is a five-year plan. Putting this next to the acquisitions
we made, pretty excited about what that means.” The question and answer session included the

following exchange regarding this slide:

        Q – Larry T. De Maria: . . . Also, would these be considered kind of 2020 targets or
        sooner? Are they three-year to five-year?

        A – Edward L. Doheny: Five year.

        Q – Larry T. De Maria – Five-year targets, okay. And then on the service side,
        captive rate – what’s the captive rate? Should we have to go from say 60% to 75% to
        get there?

                                           *     *       *

        A – Edward L. Doheny – The service capture rate we think we can get more with
        the ramp up to 65% to 70%. It’s not a precise, because we have different products
        with different market share. I’ll give you an example of one. If you look at the mine
        map that I have up on the screen, if you look at our longwall, those who know our
        business well, we had a strong presence in the room and pillar. . . . Our market

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        capture in the AFC was low. So as we put in new technology, one being quick for
        some faster customer, we think we can move that one up significantly.

                The second side of the market, the capture rates[,] the new stuff on
        consumables. We think we can actually double our penetration on consumables
        over the next five years, same thing. A consumable would be the teeth on a shovel
        the ground engagement teeth, just to give you an example how important as you see
        the big shovels in the drive line.

        31.     The above-pictured slide, which Doheny described as Joy Global’s “five-year plan,”

reflects, at a high-level, what Doheny would reference on other analyst calls and conferences as Joy

Global’s five-year “strategy,” its “five-year plan [for] growth,” and its “five-year plan on operational

strategies.” While the language in the slide above was couched in phrases such as “potential value”

and “could generate,” these numbers, according to Doheny, were backed by detailed underlying

projection models.

        32.     The financial figures in the above slide are illuminating. The incremental revenues of

$1.5 billion, on top of the then-expected $3.3 billion in Fiscal Year (“FY”) of 2015 revenues,

represented a projected $4.8 billion in revenue in 2020. The incremental Earnings Per Share

(“EPS”) of $3.00 per share, on top of the then-expected $2.50 in 2015 EPS, represented a projected

$5.50 EPS in 2020. Joy Global represented that such statements, while forward looking, “are based

on our current expectations.”
        33.     Two months later, on September 3, 2015, Doheny again publicly touted Joy Global’s

existing “five-year plan,” both regarding “growth” of “new products” as well as an existing “five-

year plan on operational strategies [and] facilities.” Doheny stated regarding the five-year plan

pictured above:

               The good news is we have a line of sight to do it. We take it very seriously
        that we are ahead of markets that move in front of us. So we have a five-year plan
        on growth that I talk a lot about on the new products, but we also have a five-year
        plan on our operational strategies and what we’re doing with the facilities around
        the world.
        34.     During this time, the global mining and commodities markets were softening. The

following week, on September 9, 2015, Doheny gave a presentation at the RBC Capital Markets

2015 Global Industrials Conference, also entitled “Creating Long Term Value for Shareholders.”

Doheny’s presentation contained updated slides describing the reduced macroeconomic and mining

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industry outlook entitled, “2015 Global Economic Outlook Reduced,” “US Coal: Landscape Under

Increasing Pressure,” and “ROW [Rest of World] Coal Markets Strained.” As a result, Joy Global

management took into account all of those factors, and updated the figures underlying the five-year

plan. Doheny presented the following slide, incorporating those updates:




        35.     In light of the softening markets, between June and September 9, 2015, Joy Global

had revised its outlook for FY 2015, from an expected $3.3 billion to $3.1 billion in revenue and

from $2.50 to $1.80 in EPS. Joy Global updated its five-year plan concurrently. As a result, in the

above-pictured slide, the incremental revenues of $1.5 billion, on top of the then-expected $3.1

billion of 2015 revenues, represented a projected $4.6 billion in revenue in 2020. The incremental

EPS of $3.00 per share, on top of the then-expected $1.80 in 2015 EPS, represented a projected

$4.80 EPS in 2020. Joy Global again represented that such statements, while forward looking, “are

based on our current expectations.” Thus, the five-year plan did not represent an aggressive “best
case” scenario, rather, management moderated the plan to track with updated information as it came

in.



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        36.     On November 10, 2015, Doheny gave a presentation at the Baird 2015 Industrial

Conference, again entitled “Creating Long Term Value for Shareholders.” Doheny’s presentation

contained the same “Strategies” slide as September, but now updated with a new title, “Creating

Growth in a Down Market”:




        37.     Joy Global retained the same outlook for FY2015 results as the September 9th

presentation. As a result, in the above-pictured slide, the incremental revenues of $1.5 billion, on top

of the then-expected $3.1 billion of 2015 revenues, continued to represent a projected $4.6 billion in

revenue in 2020. The incremental EPS of $3.00 per share, on top of the then-expected $1.80 in

2015 EPS, continued to represent a projected $4.80 EPS in 2020. Joy Global again represented that

such statements, while forward looking, “are based on our current expectations.”
        38.     On December 16, 2015, Joy Global reported better than expected FY2015 results,

including FY2015 total net sales by product (revenues) at $3.172 billion. Joy Global reported

FY2015 Fully Diluted EPS at $1.95. When discussing the “Company Outlook,” Doheny stated that

despite the weakness in near-term commodity pricing and global mining capital expenditures, the

growth plan remained intact:

                With global mining capital expenditures expected to step down again in 2016,
        we remain intensely focused on cost reduction and cash generation. . . . We
        exceeded our cost reduction targets again in 2015 and are proactively taking actions
        to achieve another $85 million of cost reductions in 2016. Our cash generation in the
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        fourth quarter was strong and was driven by good results in bringing our inventory in
        closer alignment with current order levels. We believe there are additional
        opportunities to structurally reduce inventories in 2016 by leveraging our global
        supply chain and the recent investments we have made in our service network.

                We will also continue to drive our growth strategies with service, new
        product development and expansion of our hard rock platform. While adoption
        rates are slowed by current market conditions, we have expanded our design
        capabilities to deliver value-added, new Joy branded service products and
        consumables to our customers and are well positioned to drive growth in this area in
        the future. Our hybrid excavator, underground hard rock loader and prototype
        hard rock mechanical cutting machine are all currently operating and proving out
        their capabilities with customers in the field. These organically developed new
        products in combination with the recent acquisitions and our global service
        network will enable us to drive growth in current and adjacent markets in the
        future.
                 We are controlling the things we can, and are confident our strategies and
        operational execution will position us well for the future, but the state of our end
        markets sets up another challenging year in 2016 with revenue expected to be $2.4
        billion to $2.6 billion and adjusted earnings per diluted share in the range of $0.10 to
        $0.50.

        39.     Just two days later, on December 18, 2015, Doheny presented a “Company Update,”

entitled “Creating Long Term Value for Shareholders.” Joy Global management included a similar

slide as before, again titled, “Strategies: Creating Growth in a Down Market”:




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        40.     By doing so, Doheny confirmed that the underlying five-year plan, while updated,

remained directionally intact – the estimated added value for Direct Service Growth ($500 million),

New Product Development ($200 million), China & High Growth Markets ($200 million), Hard

Rock ($600 million) retain the same projected outlook as the September 2015 presentation.

        41.     In that December presentation, Joy Global included its reported results for FY 2015:

revenue of $3.2 billion and EPS of $1.95. Both figures were up from the September 9, 2015

presentation. Applying the growth numbers contained in that slide shows that Joy Global projected

incremental revenues of $1.5 billion, on top of the reported $3.2 billion of 2015 revenues, at $4.7

billion in revenue in 2020. The incremental EPS of $3.00 per share, on top of the then-expected

$1.95 in 2015 EPS, represented a projected $4.95 EPS in 2020. Joy Global represented that such

statements, while forward looking, “are based on our current expectations.” These five-year
projections thus represented what management reasonably believed Joy Global would be able to

achieve over the next five years.

Joy Global Receives an Offer from Komatsu and
Internally Discusses Two Five-Year Projection Scenarios
        42.     On February 23, 2016, following an initial meeting with Doheny, Komatsu sent a

proposal to purchase Joy Global for just $17.00 per share in cash. The Joy Global Board set a

meeting to discuss the proposal on March 7, 2016.

        43.     In the meantime, the Company continued to tout its long-term growth prospects. On

February 25, 2016, after a proxy advisory service balked at the Board’s decision to increase

Doheny’s compensation, Joy Global issued a statement defending Doheny’s raise in a softening

global mining market:

                 Although our share price has been depressed along with an industry trend, our
        executives have pushed the company forward and kept us competitive by taking a
        number of proactive measures to maintain liquidity and position the company for
        growth once market conditions improve. These actions have included reducing costs
        in excess of our targets every year since 2013, including by accelerating our facility
        optimization plans, managing our trade working capital and keeping tight control of
        capital expenditures. These actions have driven stable cash flows through the
        commodity market down cycle. At the same time, we have taken actions to position
        our business for long-term, profitable growth. This included our 2015 acquisition
        of Montabert S.A.S., which built upon our 2014 acquisition of Mining Technologies
        Inc. to provide an expanded platform for our hard rock mining product offerings, and
        continued product development outside of our traditional markets. We have met key
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        milestones in our product development efforts. We remain focused on driving
        long-term performance through our industry-leading network and differentiating
        our product and service offerings based on technology, controls and automation.
        44.     At the March 7, 2016 Board meeting, Joy Global management, led by Doheny,

presented two five-year models to the Board. The Company’s bankers from Goldman, Sachs & Co.

(“Goldman”) also attended the meeting. The Proxy misleadingly states that “members of senior

management discussed with the board certain high-level, preliminary financial cases for the future
performance of the business representing Joy Global’s standalone plans under two different

scenarios.” With respect to the second growth-related “scenario,” there was nothing “high-level” or

“preliminary” about it. Doheny had touted the same plan for months, long describing that existing

projection model as a “five-year plan” regarding “growth” and “operational strategies.”

        45.     The Proxy describes the two March 7, 2016 projection models as follows:

        The first scenario presented at the meeting reflected a slow recovery in the coal
        mining industry and Joy Global’s businesses potentially reaching the low point of the
        cycle in 2017, and the second reflected a more robust recovery. In particular, the
        first scenario assumed that the prices for the commodities that impact Joy Global’s
        businesses would decline substantially in 2016 before slowly recovering from 2017
        through 2021, and sales in the hard rock and industrial market would grow at a
        significantly stronger rate over that period.

        The second scenario, by contrast, assumed that the prices for the commodities that
        impact Joy Global’s businesses would decline much less significantly in 2016, with a
        slightly stronger recovery than in the first scenario from 2017 through 2021, and that
        as compared to the first scenario the sales growth over that period would be slightly
        higher in the hard rock and industrial market but significantly stronger in service
        products.

        46.     The broad description of the “second scenario” directionally matches up with the

five-year plan that Doheny repeatedly touted in the preceding months.

        47.     Note that the first scenario contains no emphasis on service products, the crown jewel

of Joy Global growth strategy, as discussed below. As also discussed below, the Proxy discloses the

numerical projections for the “first scenario” (the “Five-Year Downside Scenario”), while

concealing the numerical projections for the “second scenario” (the “Five-Year Growth Plan”). At

the March 7, 2016 meeting, the Board failed to discuss the fact that Doheny had repeatedly presented

the Growth Five-Year Plan as the strategic standalone plan for Joy Global through 2020.



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        48.     Doheny knew that Joy Global remained on track to achieve the Five-Year Growth

Plan even after March 7, 2016. How do we know this? Because Doheny went back out to the

market and touted the same plan eleven days later. But Doheny also knew that the Five-Year

Growth Plan would have to be revised downward and moderated in order for an acquisition by

Komatsu to appear fair from a financial perspective to Joy Global’s shareholders. The problem for

Doheny was that, even in June 2016, Joy Global exceeded its own goals and reported that “our

bookings and financial results in the second quarter were better than expected. . . . We secured a

couple of nice growth-related equipment bookings in the quarter and saw sequential improvement in

earnings, in part due to continued execution on our cost reduction initiatives.”

Doheny Again Touts the Five-Year Growth Plan to the Market
        49.     On March 16, 2016, Doheny presented at the Bank of America Merrill Lynch 2016

Global Industrials & EU Autos Conference. The first slide of his presentation was entitled,

“Creating Long Term Value,” explaining that despite the low commodity prices, “Longer-term

industrialization and urbanization of emerging markets remains intact.” Joy Global again included a

high-level slide based on the Five-Year Growth Plan:




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        50.     While Doheny eliminated the numerical increases for the specific growth planks –

Direct Service Growth, China & High Growth Markets, New Product Development, Hard Rock &

Industrial Minerals, and Footprint Optimization Beyond ‘16 – the slide’s concluding statement

continues to references the same “incremental revenues and adjusted EPS of $1.5 billion and $3.00

respectively over the next 5 years.” Thus, applying the numbers contained in that slide to then

completed FY2015 revenue and FY2015 EPS shows that Joy Global management continued to

project incremental revenues of $1.5 billion, on top of the reported $3.2 billion of 2015, resulting in

a projected $4.7 billion in revenue in 2020. The incremental EPS of $3.00 per share, on top of the

reported $1.95 in 2015 EPS, represented a projected $4.95 EPS in 2020. Joy Global again

represented that such statements, while forward looking, “are based on our current expectations.”
These statements are irreconcilable with the Five-Year Downside Scenario described that the March

7, 2016 meeting above.

        51.     On March 30, 2016, Komatsu sent Joy Global a second non-binding proposal, raising

the price to $23.00 per share. Despite the plain inadequacy of the $23.00 per share offer price,

Doheny provided Komatsu with significant due diligence, including in-person meetings with Joy

Global’s senior management team in Chicago on May 1 and May 2, 2016. Apart from Doheny, no

Board member attended to supervise. Joy Global offered no other potential acquirer the chance to

participate in any due diligence session before the close of the Acquisition the following year.

In Early June 2016, Joy Global Reports Better than Expected
Results and Doheny Confirms the Growth Plan Is Intact
        52.     On June 2, 2016, Doheny and James M. Sullivan, the Company’s CFO, held an

earnings call to discuss Joy Global’s latest financial results. Doheny opened his remarks by stating:

“Despite ongoing challenges in commodity markets, our bookings and financial results in the

second quarter were better than expected. We secured a couple of nice growth-related equipment

bookings in the quarter and saw sequential improvement in earnings, in part due to continued

execution on our cost reduction initiatives. Additionally, our keen focus on managing trade
working capital resulted in another solid quarter of cash generation.” The Company’s earnings

release also contained a statement from Doheny confirming that Joy Global was “able to secure

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growth-related original equipment bookings in a few markets during the quarter. In addition, a

seasonal up-tick in service sales and continued cost reduction initiatives helped drive sequentially

improved earnings and continued solid cash generation in the quarter.” Doheny further stated:

        Our global teams continued to demonstrate their resiliency driving cost reduction and
        cash from working capital while advancing our key growth strategies. . . . Driving
        our strategies and demonstrating the superior differentiation of our products and
        service offerings remains key to our long-term growth. This strategy has led to
        successes with our new product development programs as well as our hard rock and
        consumables market penetration and will position us well when markets begin to
        recover.

        53.     Regarding the longer-term outlook, Doheny again reiterated that the Company’s

growth plan was strong and specific aspects were “on schedule”:

        We continued to meet key milestones on our new products. The hybrid excavator
        has been in full mining production mode for nearly a quarter and is meeting or
        exceeding all key performance metrics. It’s generating great excitement in the
        industry as the fuel savings combined with the efficiencies of an electric mining
        shovel are causing many of our customers to view this as an alternative with a
        competitive advantage to their existing hydraulic excavator fleet. While industry
        acceptance and critical mass remain key, we believe this product is on schedule
        and represents a $300 million to $400 million opportunity over the next several
        years.
        54.     While headwinds existed, Joy Global reaffirmed the strength of its Five-Year Growth

Plan. Externally, the Five-Year Growth Plan remained viable. Internally, however, management

slashed the plan, solely to support the upcoming fairness opinion on a sale.

Doheny Chooses the Downside Growth Scenario on June 6, 2016,
in Contrast to His Public Statements the Previous Week
        55.     The Board held a meeting on June 6, 2016. At this point, Komatsu’s proposal stood

at $24.50 per share. After touting a growth-related Company to the market for months, Doheny

pounced on the opportunity to cash in his shares and exercise his golden parachute. At that June 6,

2016 meeting, Doheny buried the Five-Year Growth Plan and instead presented the Five-Year

Downside Scenario to the Board, this time with additional detail.

        56.     A number of items regarding this meeting stand out. First, the projections Doheny

presented at this meeting were directionally identical to the Five-Year Downside Scenario he had

shown the Board back on March 6, 2016. Thus, apart from filling in additional detail, the Five-Year

Downside Scenario remained directionally static since its genesis in March 2016 (after Komatsu had

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submitted an acquisition proposal). Second, a later-filed Proxy Supplement states that the exact

same Five-Year Downside Scenario presented at the June 6, 2016 meeting was recycled in

Goldman’s July 20, 2016 Fairness Opinion and again to stockholders in the September 2, 2016

Proxy. Third, at this meeting, without reviewing a valuation on the Five-Year Growth Plan – and

thus without understanding the value of the Company’s operative strategic plan – the Board actually

decided to sell the Company to Komatsu pending further negotiations.

Unlike the Downside Scenario, the Five-Year Growth Plan
Was Reasonable and Reflected the Company’s Operative Reality
        57.     The Five-Year Growth Plan represented management’s reasonable expectations and

views regarding Joy Global’s future financial performance. In contrast, the Five-Year Downside

Scenario was misleading as to Joy Global management’s true views of the Company’s prospects.

Remarkably, unlike most other sellside merger proxy statements, these defendants did not

affirmatively represent that the Five-Year Downside Scenario was a reasonable or good faith view of

the Company’s five year strategy or business plan. Indeed, the Joy Global Board disclaimed even

the “validity” of the Five-Year Downside Scenario, stating in the Proxy: “None of the Joy Global
board, Joy Global, Goldman Sachs, or any of Joy Global’s and Komatsu’s affiliates assumes any

responsibility for the validity, accuracy or completeness of the Joy Global Forecasts.” In contrast, a

more reliable and “valid” plan existed – the Five-Year Growth Plan, which Doheny repeatedly

backed – but the Board concealed the specific financial details of that model from stockholders in

the Proxy.

        58.     The Five-Year Downside Scenario that would eventually appear in Goldman’s

fairness opinion regarding the Acquisition was not a run-the-company, operative strategic plan. It

was purely manufactured to support the purported fairness of an undervalued sale to Komatsu.

Tellingly, there is no indication that Joy Global ever provided its Five-Year Downside Scenario to
Komatsu. It was simply not a reliable picture of the Company. While the Proxy does not say, it is

reasonable to infer, however, that Joy Global did provide its Five-Year Growth Plan to Komatsu

during due diligence. The plan was in existence, it was time-tested, and management publicly and

repeatedly backed that plan.

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         59.    The Five-Year Downside Scenario served absolutely no standalone business purpose.

Indeed, Defendants concede this fact in the Proxy by stating that “In connection with the merger,
Joy Global’s management prepared the Joy Global Forecasts [the Five-Year Downside Scenario] for

internal use and provided them to the Joy Global board, for the purposes of considering, analyzing

and evaluating Joy Global’s strategic and financial alternatives, including the merger.”
         60.    The Five-Year Downside Scenario was simply incompatible with the Company’s

operative reality and then-current expectations. Misleadingly termed the “Joy Global Forecasts” in

the Proxy, a screenshot of the Proxy’s disclosure regarding the downside scenario is contained

below:




         61.    Recall that on March 16, 2016 – after the Five-Year Downside Scenario was created –

Doheny’s presentation indicated that management’s true operational plan at the time resulted in a

projected $4.7 billion in revenue for 2020 and $4.95 in EPS for 2020.

         62.    The Five-Year Downside Scenario pictured above and disclosed to stockholders,

however, contains a dramatically reduced $3.8 billion in revenue for 2020 and just $2.79 EPS for

2020. Indeed, the terminal year figures in 2021 disclosed in the Proxy ($4.2 billion revenue and

$3.69 EPS) are still well below management’s operational plan. As a result, the Proxy conveyed a

false narrative regarding management’s views as to the expected performance of the Company.
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        63.     The Five-Year Downside Scenario was misleading and does not reflect the

Company’s operative reality for an additional reason – it ignores the clear growth potential of Joy

Global’s direct services business segment. The Five-Year Downside Scenario included slower

growth of a number of items, including hard rock and industrial. Most significantly, the Five-Year

Downside Scenario reduced growth from services – which Joy Global management consistently

touted as Joy Global’s most significant growth driver. Indeed, the Proxy’s description of that

downside case contains absolutely no emphasis on the crown jewel of Joy Global’s growth platform:

Direct Service Growth. Likewise, the Five-Year Downside Scenario contained in the Proxy contains

no line-item or other mention of Joy Global’s direct services. To be sure, it could be that some

revenues from Joy Global’s service growth are included in the Five-Year Downside Scenario, but

defendants chose to conceal a divisional breakdown of the projections in order to avoid scrutiny of

those lowball, manipulated projections. In contrast, according to the Proxy, in the Five-Year Growth

Plan presented at the March 6, 2016 meeting, “the sales growth over that period would be slightly

higher in the hard rock and industrial market but significantly stronger in service products,” as
compared to the downside scenario.

        64.     The Five-Year Downside Scenario thus failed to capture the key aspect of Joy

Global’s future growth, which contradicts all of the following statements by Doheny over time:

               March 17, 2015, Doheny at a Bank of America Merrill Lynch Global Industrials &
                EU Autos Conference:

                Our strategy all starts with service. Our brand, we’re a service company.
        We’re direct to our customers. Again, we’re in the mines. We’re directly connected,
        but we’re also at the table. What’s quite interesting about our business, the major
        mining companies, even why I’m in here in London this week, meeting with the top
        mining customers right now, as they’re solving not only today’s problems, how we
        can get the equipment more efficient, more effective, but how can we help them in
        today’s environment where commodities have taken a step down.

                                         *       *       *

         [L]et’s talk about our cash generation. And to talk about cash generation, we have
        to talk very simply why Joy is such a great cash generator. And that’s because the
        margins and that’s because of our service model. Having the high margins and
        converting that into cash, we’ve been quite successful. . . . It’s our service
        model. . . .

               June 4, 2016, Doheny on the Q2 2015 Earnings Call:

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        Being close to our customers and providing them with technical expertise and
        service work is critical to our business and why we continue to invest regionally in
        our service facilities. . . .

               June 11, 2016, Doheny at the William Blair Growth Stock Conference:
        And we’re focusing on leading and the products we produce, leading in the markets
        that we serve and leading with service.

                                           *       *       *

        And just assume go to the chase, we got a flat market in the next five years. How
        can we grow the business in a flat market? So first, we start with service, where we
        lead in the industry. That’s what differentiates us, we go direct to our customers,
        we’re in the mines. . . .

        [W]e think we have a significant opportunity to grow our service business . . . .

               September 17, 2015, Doheny at the Morgan Stanley Industrials Conference:
               In the backdrop, you see there is service. And that’s who we are and what
        we do and the core of our business.
                                           *       *       *

                But on the strategies is one driving our service, we’re direct service model.
        We’re building on that with our Joy branded consumables. We have Smart Services,
        a lifecycle management contracts. So we think we have, even in a down market,
        some significant service growth opportunities.

               November 10, 2015, Doheny at the Robert W. Baird & Co. Industrial Conference:
                First of all, we’re focused on mining. We’re all about mining. Our
        diversification, that we’ll talk about, is to go into different forms of mining. But our
        vision is: how do we create this world-class service company that focuses on world-
        class products with the highest productivity and efficiency?
                                           *       *       *

        This is our vision, . . . . It’s not only the equipment that we have today, but where
        we’re looking to go in the future. As you can see on the slide, the center-piece is
        service. That’s our service center where we’re not only connected next to the mines,
        connected in person, but, as you can see in the cloud where we’re taking our Smart
        Services, being connected to the mines electronically.

                                           *       *       *

        How do we create growth in this flat market? . . . So we’re focusing on service.
        How do we grow our service business? Investing into the mines, being next to
        them and helping them lower their cost. We’re developing new service products.

               December 16, 2015, Doheny on the Q4 2014 Earnings Call:
        Expanding our service business remains a strategic imperative and one in which we
        realized several successes during 2015.
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                                          *      *       *

                As we execute our service strategy and move more customers to lifecycle
        management programs, our new service product and JoySmart Solutions business
        will grow.
                                          *      *       *

                In 2016, we will seek to continue to leverage investments made in our service
        infrastructure and new product development to gain market share. . . .

               March 3, 2016, Doheny on the Q1 2016 Earnings Call:
                Despite the headwinds in our end markets, we made good progress on our
        service products and consumables growth strategy. We continue to introduce new
        consumable offerings for ground engagement tool to bits for continuous miners and
        now Joy branded wire rope for our electric rope shovel. The new service offerings
        are needed in this tough market to grow share potential per machine as we have to
        deal with fleet reductions and idling.

               March 4, 2016, Joy Global in its Form 10-Q for Q1 2016: “Providing customers with
                highly differentiated equipment and service systems solutions to improve safety and
                lower their cost per ton is the core of our strategy.”

Joy Global’s Stock Price Rises and
the Board Agrees to the Acquisition
        65.     On June 14, 2016, Joy Global’s CFO presented a “Company Update” at the 2016 Citi

Industrials Conference. In that Update, Joy Global described the “Current Market Landscape” as

“Cautious Signs of Improvement.” The Company also noted that while commodities prices

remained near multi-year lows, “Recent positive movements in key commodity prices positive for

our customers (increased cash flow).” Joy Global described its own performance as, “Cash Flow:

Solid Across the Cycle,” while including charts through 2017 estimates of Unfunded Pension

Liability and CAPEX (capital expenditures). The Company further explained: “Strategies coupled

with profitability and asset efficiency delivery solid cash flow across the cycle” and touted its

“Strong liquidity and manageable debt maturity profile.”
        66.     During this time, Joy Global’s stock price increased. On June 1, 2016, Joy Global’s

stock price closed at $16.70 per share. Joy Global released its Q2 2016 earnings on June 2, 2016 and

its price skyrocketed nearly 20% to close at $20.36 per share the same day. Joy Global’s stock price

continued to rise. On July 12, 2016, Joy Global’s stock closed at $23.87 per share. On July 18,



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2016, Joy Global’s stock closed at $24.03 per share. The Board, however, shut out Joy Global’s

stockholders from any further upside just two days later.

        67.     With Joy Global’s stock price rising and its growth-plan intact, the Board agreed to an

undervalued sale at just $28.30 per share on July 20, 2016. When accepting that price, the Board did

not ask for a valuation on the Five-Year Growth Plan. This failure was particularly problematic in

light of the unusually low premium on this transaction, a fact the Board was forced to concede. At a

July 19, 2016 Board meeting, Komatsu’s offer stood at $28.00 per share. The day prior, Joy

Global’s stock price closed at $24.03 per share. This represented a premium of 18.9%. The Board

and its financial advisor, Goldman, noted that this was a “low or relatively low premium” and could

“complicate the announcement of any transaction and associated communications.” Goldman
also warned the Board that the average one-day premium through July 2016 was 39.5% and the

average premium over the past twelve years was 32.2%. The premium on Komatsu’s offer was

paltry in comparison. The following day, Komatsu nominally increased its price to just $28.30 per

share. Joy Global’s stock price closed at $23.55 per share on July 21, 2016. When Joy Global and

Komatsu publicly announced the Acquisition on July 21, 2016, the premium over the July 20, 2016

closing price existed at just 20.2%, which is not materially different from the 18.9% premium that

the Board and its financial advisors had just termed “low.”
        68.     The Board allowed its most conflicted member, Doheny, to conduct unsupervised

pricing negotiations with Komatsu throughout the sale process. When Doheny stood to make more

money by cashing out his golden parachute than with a standalone company, it is not surprising he

was unwilling to conduct tougher negotiations, obtain a higher price, nor threaten to open the process

to other bidders willing to pay more. Worse, Doheny scrapped the Five-Year Growth Plan in favor

of a lower, unreasonable, and untenable Five-Year Downside Scenario for valuation purposes.

Doing so ensured receipt of his $22.2 million golden parachute. And upon announcement of the

Acquisition, Doheny did not state that the Company was failing or that it would be unable to meet its

growth objectives. Rather, he stated that the Acquisition would further “our ability to lead the

mining industry with game-changing technologies and best-in-class products.”


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After Announcing the Acquisition, an Early, Uninformed Stockholder
Vote Takes Place, Stockholders Reject Doheny’s Compensation,
and the Mining Industry Continues to Improve
        69.     As a result of the misleading Proxy, uninformed Joy Global stockholders voted in
favor of the Acquisition on October 19, 2016. As described below, the Proxy concealed the Five-

Year Growth Plan from Joy Global stockholders.

        70.     In contrast, however, the Proxy disclosed Doheny and his management team’s

Acquisition-related compensation. The Proxy included the following proposal: “to approve, on an

advisory (non-binding) basis, certain compensation that may be paid or become payable to the

Company’s named executive officers in connection with the merger.”               For Doheny, that

compensation included, inter alia:

               three times the sum of (a) Doheny’s annual salary and (b) Doheny’s highest possible
                annual target bonus, or $5,840,100; and

               a lump sum cash payment of $760,596.
        71.     Doheny received $6,600,969 in special cash payments upon consummation of the
Acquisition as a result of his change-in-control agreement. That payment was unrelated to his stock

options or equity ownership. From similar special payments, CFO James M. Sullivan received

$2,219,711 in cash, Executive Vice President, General Counsel Sean D. Major received $1,772,313

in cash, and Executive Vice President, Human Resources Johaness S. Maritz received $1,401,979 in

cash.

        72.     In addition, Doheny received $15,503,952 in cash upon consummation of the
Acquisition as a result of his various equity awards, consisting of stock options, restricted share

units, and performance share awards. Doheny’s interests were never aligned with the rest of Joy

Global’s stockholders. First, his options, restricted share units, and performance share awards would

have been locked up for years absent a buyout of the Company. Second, even for those shares that

were already vested, Doheny faced a significant liquidity discount if he attempted to sell his shares

in the open market. This liquidity discount is not a problem that Joy Global’s public stockholders

faced, as they already had relatively liquid investments. Third, without the Acquisition, the vast

majority of Doheny’s performance shares were on track to be forfeited in light of the cyclical

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downturn in Joy Global’s stock price. Yet through the Acquisition, Doheny received a windfall

$4,160,100 payment for those share awards.

        73.     In light of the conflicting and exorbitant nature of such payments to Doheny, Joy

Global stockholders voted against these payments. On October 19, 2016, Joy Global disclosed that

over 47.6 million shares voted against the payments, while just 28.7 million shares voted in favor.

Remarkably, however, because this particular vote was non-binding, the Board went ahead and paid

Doheny these massive payments, in full, upon consummation of the Acquisition.

        74.     After the vote, Joy Global’s results continued to improve. When reporting FY2016

operating results on December 14, 2016, Doheny noted that “In late fiscal year 2016, we saw the

beginning of global commodity markets rebalancing as supply surpluses started to be absorbed

and pricing improved from decade low levels. . . . Our team has once again delivered financial

results in line with our expectations, with continued solid cash generation, cost reduction ahead of

target and steady advancement of our growth strategies.” Again, when reporting earnings on
March 2, 2017, a month prior to the close of the Acquisition, Doheny conceded that, “[o]ver the last

several months we have seen further evidence of commodity markets rebalancing, which has helped

improve commodity pricing. . . . These pricing improvements and increased production levels
have strengthened cash flows for many mining companies. This has led to increased rebuild
activity in what is typically a seasonally slower fiscal first quarter.” In fact, Joy Global’s bookings

increased to $615 million in the quarter ended January 17, 2017, up 12% from the prior year and

service bookings increased to $524 million, up 21% from a year ago.

        75.     Komatsu’s stock skyrocketed since the announcement of its Joy Global Acquisition.

The following chart represents Komatsu’s stock price in the last 12 months. Note the increase

between July 2016 (when Komatsu announced its Acquisition of Joy Global) to April 2017 (when

Komatsu closed its Acquisition of Joy Global):




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        76.     Because the Board reached a deal based on the unreasonably low Five-Year

Downside Scenario, however, Joy Global’s stock was capped at $28.30 per share during this time

and Joy Global stockholders were shut out from any additional upside.

The Sale Process Was Flawed and the Acquisition
Price Does Not Provide a Reliable Indication of Value
        77.     Despite the existence of other potential acquirers, the Joy Global Board unreasonably

decided against soliciting any other bidders in connection with the sale of Joy Global. This decision

was particularly problematic given that the Acquisition involved what the Joy Global Board

conceded was an unusually low premium – there was no blowout price to protect here. Indeed, Joy

Global’s stock price was increasing and, as alleged throughout this Complaint, even if Komatsu had

walked, Joy Global’s stock price was set to continue that rise. Joy Global prevented the reliable

price discovery that might have been obtained in a broad sale process when it refused to contact a

single additional potential buyer.

        78.     Nothing prevented the Board from contacting another potential buyer. The Company

was not acting under an exclusivity agreement with respect to Komatsu. Komatsu never threatened

that it might walk if the Board opened up the sale process. And until bound by the Merger
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Agreement, Joy Global was under no contractual restriction from simply contacting other interested

acquirers, such as General Electric Company, Atlas Copco Group, Hitachi, or Caterpillar Inc., who

had all expressed recent interest in acquisitions in the mining industry. Indeed, each of those entities

had shown a track record for similar acquisition in the recent past. Yet the Board unreasonably

contacted none of these entities before locking itself into the Acquisition via the Merger Agreement.

        79.     In addition, as noted above, the Board acted unreasonably throughout its discussions

with Komatsu, including by allowing its most conflicted member, Doheny, to conduct unsupervised

pricing negotiations with Komatsu throughout the process. When Doheny stood to make more

money in cashing out his golden parachute than with a standalone company, it is not surprising he

was unwilling to conduct tougher negotiations, obtain a higher price, or threaten to open the process

to other bidders willing to pay more. The Outside Directors failed to supervise or become directly

involved in Doheny’s discussions with Komatsu. While this Complaint does not presently assert

claims for breach of fiduciary duty under Delaware law, the full Board breached their situational

fiduciary duties under “enhanced scrutiny” throughout the sale process, and Doheny breached his

duty of loyalty, as described herein.

        80.     Rather than electing for a “go shop” period – as is common after announcing a sale

where the company was not shopped – the Board agreed to preclusive deal protection devices that

made it exceedingly difficult for other buyers to make a successful competing bid for the Company.

These provisions, which prevented the emergence of competing bidders, include: (i) a no-shop

clause that precludes the Company from communicating with or providing confidential Company

information to potential competing bidders except under extremely limited circumstances; (ii) a

matching rights provision that allows Komatsu to match any competing proposal; and (iii) a

termination fee provision that required Joy Global to pay Komatsu $75 million in the event the

Acquisition is terminated in favor of a superior proposal. The collective effect of these provisions

chilled any possibility of a topping bid.

        81.     Also, as described above, the Joy Global Board failed to commission a fairness

opinion that valued the Company’s most reliable operational projections, thus severely undermining

the Acquisition price of $28.30 per share. Finally, the Board retained a conflicted banker to bless the
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fairness of the Acquisition price. For its services as a financial advisor, Goldman received a success

fee of $28.5 million that was wholly contingent on the completion of the Acquisition. If Goldman

did not offer a fairness opinion and the deal thus did not close, according to the Proxy, Goldman

would have received nothing and walked away with a complete loss. Goldman was incentivized to

effectuate an Acquisition at nearly any price, as opposed to no Acquisition at all.

The Conflicted and Unfair Process Led to an Unfair Price
        82.      The Acquisition significantly undervalued Joy Global. As noted, the $28.30 per share

merger consideration represented a one-day premium of just 20.2%, just over half of Goldman’s

observed average one-day premium as of July 20, 2016 of 39.5%. As also noted above, a senior

analyst at Robert W. Baird & Co. Inc., observed that: “the value of the transaction, which boils

down to $28.30 (per share), effectively does not extract as much value as there should be for Joy’s
shareholders. In our view, something closer to $40, frankly above $40, would accomplish that. . . .

[Joy Global] is one of the most valuable assets, pure play mining assets, available globally.”

Similarly, Bloomberg wrote that Komatsu was buying Joy Global “[o]n the cheap” by acquiring “Joy

at almost a 50 percent discount to its five-year average. And now [Komatsu] has the benefit of at

least some stabilization in commodity prices to give it confidence in a mining turnaround. Joy

Global shares have recovered somewhat this year, but Komatsu is still getting a bargain. In other

words, the timing probably couldn’t have been better for Komatsu to strike its biggest deal yet.” In

addition, an analyst at Avondale Partners LLC set a price target for Joy Global stock of $30.00 per

share on June 2, 2016. Moreover, Joy Global shares had traded as high as $65.36 per share on July

16, 2014, and most recently traded above the Acquisition consideration – at $28.63 per share – on

July 23, 2015.

        83.      As analysts observed, defendants unreasonably chose to sell a cyclical company at the

low end of its cycle. Komatsu CEO Tetsuji Ohashi even boasted to reporters upon announcing the

Acquisition that Komatsu took advantage of this cyclical industry slowdown and bought Joy Global

at the bottom of the market: “‘The mining market is near the bottom now. Now is the good time (to

do the acquisition).’” Demand for mining equipment had slowed from the commodity cycle’s peak
five years prior as China and other key markets softened. Over the long term, however, the mining
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equipment business was projected to grow, driven by population growth and rapid urbanization

around the world. Joy Global’s markets were cyclical and recently had been challenged (which has

impacted the price of Joy Global stock, which as noted above, traded at over $65 per share in mid-

2014). Therefore, any proper valuation of Joy Global should consider where it was in the cycle,

which was then near or at the bottom. At the time, there were signs of firming in the global

commodities markets. Joy Global noted in its earnings release that its fiscal 2016 second quarter

results were better than expected. Joy Global also noted that copper markets were stabilizing and

both the iron ore and oil markets were improving. Coal, particularly in the United States, was

challenged; however, metallurgical coal and the steel markets were expected to improve in 2017.

Joy Global’s improving backlog also signaled a bottoming process – Joy Global booked orders for a

longwall system and parts for shovels operating in the growing Indian coal market and for two

shovels to be used in the Canadian oil sands. As for the U.S. coal sector, restructuring and

rationalization in supply resulted in a more profitable industry with an ability and willingness to

invest in highly productive equipment.

        84.     The consideration offered in the Acquisition did not adequately reflect the Company’s

prospects going forward or its synergistic value to Komatsu as a merger partner. By entering into

the Acquisition, Komatsu was able to capture the value of Joy Global’s business, at far less than its

actual synergistic value to Komatsu. Joy Global’s shareholders, on the other hand, did not share in

these profits going forward, as this is a cash-out transaction that did not include any stock component

for shareholders.

        85.     The Acquisition allowed Komatsu to reap benefits that will not be shared by Joy

Global’s shareholders and unfairly deprived Joy Global’s shareholders of the same. As a result of

the Acquisition, Joy Global’s shareholders were cashed out at a price that did not reflect their equity

stake in the Company, all while Komatsu reaped the benefits of Joy Global’s position as a global

leader in its field. Goldman’s financial analysis in support of the Acquisition was particularly

flawed, as it was based on the Five-Year Downside Scenario, a set of downside projections that did

not reflect the Company’s operative reality. In addition, Goldman applied an unreasonably high


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discount rate of 14.0% to 15.0%, and unjustifiably applied a terminal multiple range of just 8.0x to

9.0x, despite applying a multiple range of 11x to 17x after observing selected precedent transactions.

The Materially Misleading Proxy
          86.   In connection with the Acquisition, defendants filed and disseminated the materially

false and misleading Proxy. The Proxy, which recommended that Joy Global’s shareholders vote in

favor of the Acquisition, omitted and misrepresented material information about the intrinsic value

of the Company that made it more likely that Joy Global’s public shareholders would be coerced and

misled into voting in favor of the Acquisition without that material information regarding the critical

decision they faced. Specifically, the Proxy omitted and/or misrepresented the material information

set forth below in contravention of §§14(a) and 20(a) of the 1934 Act:

                (a)    The Proxy omitted specific financial projections contained in the “second

scenario,” as presented to the Board at the March 7, 2016 board meeting (or, the “Five-Year Growth

Plan”);

                (b)    The Proxy omitted specific five-year financial projections supporting the

“Strategies, Creating Growth in a Down Market” slide that Doheny presented at the Bank of

America Merrill Lynch 2016 Global Industrials & EU Autos Conference on March 16, 2016;

                (c)    The Proxy omitted specific five-year financial projections contained in the

latest version, prior to March 7, 2016, of the “five-year plan on growth” and “five-year plan on

operational strategies” that Doheny referenced September 3, 2015; and

                (d)    The Proxy omitted specific breakdown in projections on a divisional basis in

the disclosed Five-Year Downside Scenario, given that Doheny’s earlier presentations provided a

divisional breakdown of incremental 2020 revenues: Direct Service Growth ($500 million), New

Product Development ($200 million), China & High Growth Markets ($200 million), Hard Rock

($600 million);

                (e)    The Proxy presents a false-narrative, as described above, indicating that

Doheny and his management team chose, purportedly in good faith, the Five-Year Downside

Scenario, despite Doheny’s repeated statements to the contrary; and


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                (f)    The Proxy falsely states that “The Joy Global board considered that the

merger consideration was more favorable to Joy Global’s stockholders than the potential value that

would reasonably be expected to result from other alternatives reasonably available to Joy Global,”

when the Board did not view a discounted cash flow analysis on the Five-Year Growth Plan.

        87.     Without full and fair disclosure of the material information, set forth above,

shareholders should not have been asked to vote on the Acquisition.

        88.     As explained above, this information was material to the decision of Joy Global

shareholders on whether or not to vote in favor of the Acquisition. When stockholders are forced to

decide whether to accept a sum certain value in a cash-out merger, there is no more material

information than management’s estimates of the standalone corporation’s future cash flows. In such

a situation, investors are concerned, perhaps above all else, with the expected corporate cash flows if

the sale is not approved. A common refrain throughout case law states that “projections are probably

among the most highly-prized disclosures by investors. Investors can come up with their own

estimates of discount rates or market multiples. What they cannot hope to do is replicate

management’s inside view of the company’s prospects.” In the context of a corporate sale, a

company’s operational, run-the-company projections prepared before the acquirer’s initial offer –

thus untainted by the omnipresent specter of management conflict in a change-of-control transaction

– take on a heightened importance. When submitting the Acquisition to a stockholder vote here,

however, the Joy Global Board deprived the Company’s stockholders of management’s most

reasonable, reliable, and best expectations of Joy Global’s future process.

        89.     Had the Five-Year Growth Plan been numerically disclosed in the Proxy, Joy Global

stockholders would not have been swayed by the unduly pessimistic sales pitch contained in the

Proxy and would have realized the Acquisition undervalued Joy Global’s future earnings potential.

Had the Five-Year Growth Plan been disclosed and accurately been presented as being reliable, Joy

Global stockholders would not have voted in favor of the Acquisition. But Doheny and the rest of

the Board knew that. So they concealed the Five-Year Growth Plan’s reliability, achievability, and

numerical projections from stockholders in the Proxy.


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        90.     Additionally, the Outside Directors allowed Doheny, who was patently conflicted, to

oversee the preparation of the Five-Year Downside Scenario. Moreover, the Outside Directors knew

– or should have known – of the repeated public statements that Doheny was making in support of

the Five-Year Growth Plan that were contradictory to the Five-Year Downside Scenario used to

convince shareholders to vote in favor of the Merger. Each Outside Director purportedly attended

the March 7, 2016 Board meeting, where management presented an overview of the Five-Year

Growth Plan; each Outside Director purportedly attended the June 6, 2016 Board meeting, where

management presented the Five-Year Downside Scenario; and each Outside Director attended the

July 20, 2016 Board meeting, where Goldman presented its Fairness Presentation valuing the Five-

Year Downside Scenario. And ultimately, each Outside Director is implicated in the following

recommendations in the Proxy, which are purportedly supported by valuations based on the Five-

Year Downside Scenario: “The Joy Global board of directors has unanimously determined that the

merger agreement, the merger and the other transactions contemplated by the merger agreement are

advisable, fair to and in the best interests of Joy Global and its stockholders and has unanimously

approved the merger agreement, the merger and the other transactions contemplated by the merger

agreement. The Joy Global board of directors unanimously recommends that the stockholders of the

Company vote (1) ‘FOR’ the proposal to adopt the merger agreement . . . .”

                                CLASS ACTION ALLEGATIONS
        91.     Plaintiffs bring this action individually and as a class action on behalf of all holders of

Joy Global stock who were harmed by defendants’ actions described above (the “Class”). Excluded

from the Class are defendants herein and any person, firm, trust, corporation, or other entity related

to or affiliated with any defendants.

        92.     This action is properly maintainable as a class action under Rule 23 of the Federal

Rules of Civil Procedure.

        93.     The Class is so numerous that joinder of all members is impracticable. According to

the Merger Agreement, as of July 18, 2016, there were over 98 million shares of Joy Global common

stock outstanding, held by hundreds, if not thousands, of beneficial holders.


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         94.    There are questions of law and fact that are common to the Class and that

predominate over questions affecting any individual Class member. The common questions include,

inter alia, the following:

                (a)     whether defendants violated §§14(a) and 20(a) of the 1934 Act and SEC Rule

14a-9 by preparing, reviewing and disseminating a false and misleading Proxy;

                (b)     whether plaintiff and the other members of the Class have been damaged as a

result of the conduct detailed herein;

                (c)     whether the Five-Year Growth Plan was material and should have been

disclosed to Joy Global stockholders;

                (d)     whether the consideration payable in connection with the Acquisition to

plaintiffs and the Class was unfair and inadequate; and

                (e)     whether Joy Global’s standalone value existed above the Acquisition price of

$28.30 per share, which each Joy Global stockholder received upon consummation of the

Acquisition.

         95.    Plaintiffs’ claims are typical of the claims of the other members of the Class and

plaintiffs do not have any interests adverse to the Class.

         96.    Plaintiffs are adequate representatives of the Class, have retained competent counsel

experienced in litigation of this nature and will fairly and adequately protect the interests of the

Class.

         97.    The prosecution of separate actions by individual members of the Class would create

a risk of inconsistent or varying adjudications with respect to individual members of the Class,

which would establish incompatible standards of conduct for the party opposing the Class.

         98.    Plaintiffs anticipate that there will be no difficulty in the management of this

litigation. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy.

         99.    Defendants have acted on grounds generally applicable to the Class with respect to

the matters complained of herein, thereby making appropriate the relief sought herein with respect to

the Class as a whole.
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                                             COUNT I

      For Violations of §14(a) of the 1934 Act and Rule 14a-9 Promulgated Thereunder
                     Against the Individual Defendants and Joy Global
        100.    Plaintiffs repeat and reallege each allegation set forth herein.

        101.    The Individual Defendants and Joy Global disseminated the false and misleading

Proxy specified above, which failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

        102.    The Proxy was prepared, reviewed and/or disseminated by the Individual Defendants

and Joy Global. It misrepresents and/or omits material facts, including material information about

the unfair sales process for the Company, the unfair consideration offered in the Acquisition, and the

actual intrinsic value of the Company’s assets.

        103.    In disseminating the Proxy, the Individual Defendants and Joy Global made

misleading statements of material fact and omitted to state material facts necessary to make the

statements made not misleading in violation of §14(a) of the 1934 Act and SEC Rule 14a-9

promulgated thereunder. By virtue of their positions within the Company or as signatories to the

Merger Agreement, the Individual Defendants were aware of this information and of their duty to

disclose this information in the Proxy.

        104.    As stated herein, the Proxy contained untrue statements of material facts and omitted

to state material facts necessary to make the statements that were made not misleading in violation of
§14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder; the Proxy was an essential link

in the consummation of the Acquisition. The defendants have also failed to correct the Proxy and

the failure to update and correct false statements is also a violation of §14(a) of the 1934 Act and

SEC Rule 14a-9 promulgated thereunder.

        105.    The written communications made by the defendants described herein constitute

violations of Rule 14a-9 and §14(a) because such communications are materially false and/or

misleading and were provided in at least a negligent manner.

        106.    As a direct result of the defendants’ negligent preparation, review and dissemination

of the false and/or misleading Proxy, plaintiffs and the class were precluded both from exercising

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their right to seek appraisal and were induced to vote their shares and accept inadequate

consideration of $28.30 per share in connection with the Acquisition. The false and/or misleading

Proxy used to obtain shareholder approval of the Acquisition deprived plaintiffs and the Class of

their right to a fully informed shareholder vote in connection therewith and the full and fair value for

their Joy Global shares. At all times relevant to the dissemination of the materially false and/or

misleading Proxy, defendants were aware of and/or had access to the true facts concerning the

process involved in selling Joy Global and Joy Global’s true value (as reflected in, at a minimum, the

Five-Year Growth Plan), which was far greater than the $28.30 per share that shareholders received.

Thus, as a direct and proximate result of the dissemination of the false and/or misleading Proxy

defendants used to obtain shareholder approval of and thereby consummate the Acquisition,

plaintiffs and the class have suffered damage and actual economic losses (i.e., the difference between

the price Joy Global shareholders received and Joy Global’s true value at the time of the

Acquisition) in an amount to be determined at trial.

        107.    The omissions and false and misleading statements in the Proxy are material in that a

reasonable shareholder would have considered them important in deciding how to vote on the

Acquisition. In addition, a reasonable investor would view a full and accurate disclosure as having

significantly altered the “total mix” of information made available in the Proxy and in other

information reasonably available to shareholders.

        108.    By reason of the misconduct detailed herein, the defendants are liable pursuant to

§14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.

                                             COUNT II

                              For Violation of §20(a) of the 1934 Act
                                Against the Individual Defendants
        109.    Plaintiffs repeat and reallege each allegation set forth herein.

        110.    The Individual Defendants acted as controlling persons of Joy Global within the

meaning of §20(a) of the 1934 Act as alleged herein. By virtue of their positions as officers and/or

directors of Joy Global and their participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy filed with the SEC, the

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Individual Defendants had the power to influence and control and did influence and control, directly

or indirectly, the decision-making of the Company, including the content and dissemination of the

various statements plaintiffs contend are false and misleading.

        111.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by plaintiffs to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

        112.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations as

alleged herein, and exercised the same.           The Proxy at issue contained the unanimous

recommendation of each of the Individual Defendants to approve the Acquisition. They were thus

directly involved in the making of this document.

        113.    As set forth above, the Individual Defendants had the ability to and did exercise

control over a person or persons who violated §14(a) and SEC Rule 14a-9 by their acts and

omissions as alleged herein. By virtue of their positions as controlling persons, these defendants are

liable pursuant to §20(a) of the 1934 Act. As a direct and proximate result of defendants’ conduct,

Joy Global’s shareholders were irreparably harmed.

                                      PRAYER FOR RELIEF
        WHEREFORE, plaintiffs prays for judgment as follows:

        A.      Declaring this action to be a proper class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

        B.      Declaring that the Proxy distributed by defendants to shareholders was materially

false and misleading, in violation of Rule 14a-9 and §14(a) of the 1934 Act;

        C.      Awarding plaintiffs and the members of the Class compensatory and/or rescissory

damages against the defendants;



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        D.      Awarding plaintiffs and the members of the Class pre-judgment and post-judgment

interest, as well as reasonable attorneys’ fees, expert witness fees and other costs; and

        E.      Awarding such other relief as this Court may deem just and proper.

                                     JURY TRIAL DEMAND
        Plaintiffs hereby demand trial by jury on all issues so triable.

DATED: April 26, 2017                            ROBBINS GELLER RUDMAN
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                                   CERTIFICATE OF SERVICE
        I hereby certify that on April 26, 2017, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on April 26, 2017.

                                                     s/ David T. Wissbroecker
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